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                      EXHIBIT 3
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                                       Michael V. Galo, Jr.


Michael V. Galo Jr. dedicates his practice to all areas of federal and state employment and labor
law. Mr. Galo has a particular interest in issues relating to the Americans with Disabilities Act,
the Texas Workers ' Compensation Act, the Family and Medical Leave Act, and the various federal
and state whistleblower and anti-retaliation laws. He also has extensive experience representing
management in matters relating to the National Labor Relations Act, union-organizing campaigns,
collective bargaining and union arbitrations. He also has handled dozens of cases under the Fair
Labor Standards Act, including a number of collective actions under Section 216(b).


Mr. Galo is Board Certified in Labor and Employment by the Texas Board of Legal Specialization
and is AV rated by Martindale-Hubbell. He also has been consistently named as a Texas Super
Lawyer in Labor and Employment Law. He is also listed in Best Lawyers in America 2012, 2013,
2014, and 2015.


Since 1994, Mr. Galo has handled numerous cases and matters involving non-competition
agreements, covenants of confidentiality, and the protection of trade secrets under both state and
federal law. He also litigates cases under the Surface Transportation Assistance Act and the AIR21
Act before U.S. Department of Labor Administrative Law Judges and the Administrative Review
Board.


Mr. Galo has represented clients in a variety of industries such as trucking, banking, retail,
hospitality, healthcare, oil and gas, and information technology. Mr. Galo prides himself on his
ability to see "both sides of the coin" and to give his clients meaningful and practical advice on
how best to navigate through the legal process.


Mr. Galo has significant jury trial experience, having tried a number of employment discrimination
and retaliation cases to verdict in state and federal court. Mr. Galo also maintains an active
appellate practice, having served as lead counsel in 19 employment cases before the U.S. and
Texas Courts of Appeals. Nine of these cases have proceeded to oral argument.

Representative cases: Kanida v. Nurseji.nders, 363 F.3d 568 (5th Cir. 2004) (affirming jury verdict
for employer and holding that district court did not commit reversible error in instructing the jury);
Pineda v. United Parcel Service, Inc., 360 F.3d 483 (5th Cir. 2000) (holding that heightened
"pretext plus" standard applies to cases under the Texas Commission on Human Rights Act);
Qualls v. Lack's Stores, Inc. , 1999 U.S. Dist. LEXIS 5731 (N.D. Tex. 1999) (early ADA case
holding that employee with Hepatitis C was not substantially limited in any major life activity),
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affd, 210 F.3d 369 (5th Cir. 2000); Rodriguez v. Roadway Express, Inc. , 1997 WL 839014 (S .D.
Tex. Dec. 2, 1997) (summary judgment for the employer in early ADA "reasonable
accommodation" case and holding that the employee broke off "interactive process"), aff d, 199
F.3d 437 (5th Cir. 1999); and Rook v. Xerox Corp ., 55 Fed. Appx. 716 (5th Cir. 2002) (affirming
summary judgment for employer in ADN FMLA case and finding no evidence that employee had
been terminated, and also that the district court did not err in abbreviating discovery); Chavarria
v. Despachos Del Norte, Inc., 2005 WL 1515472 (S.D. Tex, Jun. 22, 2005) (dismissing Plaintiffs' s'
age discrimination claims resulting from reduction in force) ; Seidler v. United Parcel Service ,
2005 WL 831839 (W.D. Tex. 2005) (dismissing Plaintiffs" s case for negligence, conversion, and
violations of DTPA based upon preemption under the Airline De-Regulation Act); Susan Esquivel
et al v. Hillcoat Properties, 484 F.Supp.2d 582 (W.D. Tex. 2007); Lee v. Waste Managem ent, 2008
WL 246374 (S.D. Tex. 2008) (transferring ADA case to Western District of Texas based upon
convenience of the parties); Stelly v. San Antonio Aerospace, L.P., No. 04-11-00478 (Tex. App.--
-San Antonio, 2012) (affirming summary judgment for employer in racial and sexual harassment
case); Jeffrey Cole v R Construction Co. , Administrative Review Board, ARB Case No. 12/037,
ALJ Case No. 2011-STA-22 (Sept. 20, 2012); In re Val Trif, 2012 WL 5234478 (Tex. App.- San
Antonio 2012); Stacy Crane v. Gore Design Completion, Ltd. , et al, _     F. Supp. _ , 2014 WL
2153915 (W.D. Tex. 2014); Joan Gonzalez v. Texas Health and Human Services Commission, et
al., 2014 WL 6606629 (W.D. Tex. , November 19, 2014); Escobar v. Rental Express, 2014 WL
8624267 (W.D. Tex. , August 25 , 2014) (granting summary judgment for Plaintiffs' s on FLSA
exception issues); Huchingson v. Rao, 2015 WL 1655113 (W.D. Tex., April 14, 2015) (granting
employer' s motion to dismiss class allegations in FLSA case); Leyva v. 35 Bar & Grill, LLC, 2015
WL 5751638 (W.D. Tex. , September 22, 2015) (limiting Plaintiffs" s right to information
regarding putative class members in FLSA case); Keen v. DXP Enterprises, Inc., 2016 WL
3253895 (W.D. Tex., June 6, 2016) (granting Plaintiffs" s motion for summary judgment on
exemption issue).

Mr. Galo is also a regular speaker at human resources and continuing legal education seminars.


Mr. Galo is a native Laredo, Texas, where much of his family still resides. He speaks Spanish and
maintains and active practice in Webb County and across the Texas/Mexico border. Mr. Galo is
married to Blanca Pellegrin Galo, and they have one son.

Areas of Practice:

       Labor and Employment
       Civil Trial
       Civil Appeals
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Certifications and Honors:

       Board Certified, Labor and Employment Law, Texas Board of Legal Specialization
       AV Rated, Martindale Hubbell (highest rating)
       Texas Super Lawyer, 2004, 2007, 2008, 2009, 2010, 2011 , 2012, 2013 , 2014, 2015, 2016
       Best Lawyers in America 2012, 2013 , 2014, 2015 , and 2016

Bar Admissions:
       Texas, 1994
       U.S. District Court Western District of Texas, 1996
       U.S. District Court Northern District of Texas, 1995
       U.S. District Court Southern District of Texas, 1994
       U.S. Court of Appeals 5th Circuit, 1995

Education:
       Stanford Law School, Stanford, California, J.D. 1994
       Law Review: Notes Editor, Stanford Law Review, 1993 - 1994

       Princeton University, Princeton, New Jersey, B.A. 1991
       Honors: Summa Cum Laude; Senior Thesis Prize for "The St. Albans Psalter and Its
       Role in the Development of English Romanesque Manuscript Illumination"
       Major: Art History and Archaeology

Professional Associations and Memberships:
       State Bar of Texas
       San Antonio Bar Association
       San Antonio Bar Foundation, Life Fellow
       Texas Bar Foundation, Life Fellow

Past Employment Positions:
       United States District Court, Southern District of Texas, Hon. George P. Kazen, Law
       Clerk, 1994 - 1995
       Akin, Gump, Strauss, Hauer & Feld, L.L.P. , 1996-2005, Counsel,

References:
Available upon request
